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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA,

    Plaintiff,

         v.                                     No. 1:19-cr-39

MICHAEL KING,                                   Judge John Z. Lee

    Defendant.


                       MOTION TO SUPPRESS EVIDENCE

      Defendant Michael King, through undersigned counsel, respectfully moves

under Federal Rule of Criminal Procedure 12(b)(3)(C) to suppress evidence

unlawfully obtained in this case.

                                        Facts

      Defendant was arrested by Chicago Police Officers on January 10, 2019, at

about 10:13 p.m. in the vicinity of 79th Avenue and Bishop Street, Chicago, IL.

Following his arrest, CPD officers recovered an RG model 23 .22 caliber revolver from

Defendant’s right jacket pocket. The revolver forms the basis of the current charge

against defendant of possession of a firearm by a felon. Below is the chronology of

events

      On January 10th at 2009 hours, OEMC received a wireless 911 call from an

anonymous caller, who stated that an individual was walking in the vicinity of 79th

& Throop when he pulled out a gun and started shooting. The caller described the

individual as “black, kinda tall, maybe over 6 feet, with dark clothes on, maybe bald”
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wearing a “dark puffed jacket” and did not appear to be wearing a hat. The caller

stated that the individual fired about three shots and was walking westbound. When

asked for his name and number, the caller declined to provide it, stating he “would

rather not say”. See Exhibit 1 (911 call audio).

      At 2011 hours, CPD dispatch alerted units to “shots fired 79th and Throop,

caller states there is a male black walking westbound, tall build, six foot, dark-colored

puffy jacket, shot 3 times, nothing further”. Exhibit 2, at 05:18 (CPD dispatch audio).

Moments later, CPD dispatch also reported “nothing on the ShotSpotter” in relation

to the call, and advised the responding officers of this information. See id. at 05:39.

ShotSpotter is a gunshot detection system employed by CPD:




Exhibit 3, at 2 (ShotSpotter enhanced incident report). ShotSpotter detection,

however, is subject to significant limitations and potential false positives or

negatives, and so it must be corroborated by other investigative sources:




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Id. As the report itself notes:




Id. (emphasis added). 1

       Body-worn camera (BWC) footage captured the responding officers’ actions.

See Exhibit 4 (BWC video). The relevant recording begins at 22:11:13. At 22:11:46,

the dispatch report of “nothing on the ShotSpotter” can be heard over the in-car radio.

At 10:12:05, one officer in the vehicle states, “Is that a black puffy jacket?”, to which

another officer states, “I think so,” followed by “That’s him.” The initial officer then



1The day after Defendant’s arrest, the ATF reported a missed incident to ShotSpotter. A manual
review of the ShotSpotter system was conducted and found “sounds resembling gunshots with a time
stamp of 22:08:46.” See Exhibit 3. None of this information was available to the responding officers
at the time of Defendant’s detention and arrest.

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makes a statement to the effect of, “Do you want [unintelligible]”. The other officer

responds, “No, I do not want you to do that, we’re gonna get out and talk to him.” At

22:12:17, the vehicle stops and the passenger side door opens. The passenger exits

the vehicle at 22:12:20 and immediately draws his weapon, shouting “Let me see your

hands”, followed immediately by the backseat passenger with her weapon also drawn.

The video shows Defendant responds by turning around with his hands in the air:




Defendant is put up against a wall and handcuffed at 22:12:48:




At 22:13:04, prior to asking any questions, one of the arresting officers begins

searching Defendant:

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At 22:13:11, the officer states, “we got a weapon”. At 2213 hours, the responding

officers reported to dispatch that Defendant had been detained. See Exhibit 3, at

06:50. Moments later, the officers reported that they had recovered a weapon. Id. at

07:10. Defendant was subsequently transported to the station for booking.

      From beginning to end, the entire sequence lasted less than two minutes.

                                     Argument

      As the U.S. Supreme Court summarized in Navarette v. California, 572 U.S.

393, 396-97 (2014) (cleaned up),

      The Fourth Amendment permits brief investigative stops—such as the
      traffic stop in this case—when a law enforcement officer has a
      particularized and objective basis for suspecting the particular person
      stopped of criminal activity. The reasonable suspicion necessary to
      justify such a stop is dependent upon both the content of information
      possessed by police and its degree of reliability. The standard takes into
      account the totality of the circumstances—the whole picture. Although
      a mere hunch does not create reasonable suspicion, the level of suspicion
      the standard requires is considerably less than proof of wrongdoing by
      a preponderance of the evidence, and obviously less than is necessary
      for probable cause.

These standards apply to investigative stops based on anonymous tips. See id. (citing


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Alabama v. White, 496 U.S. 325 (1990), and Florida v. J.L., 529 U.S. 266 (2000)). The

analysis in this context involves two steps: (1) whether the anonymous 911 call was

sufficiently reliable to credit the allegations, and (2) whether the information known

to the responding officers, including the 911 call, created a reasonable suspicion that

criminal activity was afoot. Id. at 309, 401. “The reasonableness of official suspicion

must be measured by what the officers knew before they conducted their search.” J.L.,

529 U.S. at 271.

      In this case, the caller contacted 911 through a wireless telephone. While the

caller indicated that he had personally seen the individual discharging a firearm and

gave a description, the caller declined to identify himself when asked. Moreover,

because the call was made from a wireless telephone, the 911 system could not

immediately verify the caller’s location. See, e.g., Ben Bradley, WGN Investigates

puts Chicago’s 911 system to the test, WGN9 (May 19, 2017); see also Federal

Communication Commission, 911 Wireless Services (“Since wireless phones are

mobile, they are not associated with one fixed location or address.”). This is dissimilar

to cases such as Navarette that found a tip reliable in part because the caller’s

location and identity could be verified through the 911 system. Cf. Navarette, 572

U.S. at 400-401 (“A 911 call has some features that allow for identifying and tracing

callers, and thus provide some safeguards against making false reports with

immunity.”).

      There was also reason to doubt the caller’s report, based on the information


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the responding officers knew at the time. 2 Moments after the responding officers

received the dispatch for shots fired, dispatch also reported “nothing on ShotSpotter”,

indicating that no gunfire in the vicinity was detected by the system. It is clear that

this information was not only known to CPD but also to the officers personally, given

that the report can be heard coming over the radio in the BWC recording.

       Consequently, the officers knew only that an anonymous caller had relayed

information that appeared to be unsupported by the ShotSpotter system, which was

specifically designed to detect gunshots. Those circumstances required further

investigation before detaining anyone. See United States v. Lopez, 907 F.3d 472, 481

(7th Cir. 2018) (“When officers know the bare identity but little else about an

informant, they still must conduct and rely upon independent investigation to

corroborate a tip before seizing a person.”).

       Even leaving aside the reliability problems with the tip itself, there was no

reasonable basis for the responding officers to believe that Defendant personally was

involved in criminal activity. The caller identified the alleged shooter only as a tall

African American male wearing a dark puffy jacket walking westbound. In the

context of a cold January night in an area of Chicago with a large African-American

population, this description is exceptionally generic and does not provide much in the

way of clear identification. Additionally, the caller reported shots fired at 79th and

Throop, while Defendant was detained by the officers less than three minutes later


2 The timestamp for the BWC recording is in Zulu time, which is six hours ahead of Chicago local
time.
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nearly a quarter mile away at 79th and Bishop:




      But rather than investigating the situation and talking to Defendant, the

officers immediately leapt out of their vehicle with guns drawn and handcuffed and

searched Defendant within moments. A frisk is permissible only if the officer has a

reasonable suspicion that the person is armed and dangerous. See United States v.

Williams, 731 F.3d 678, 688 n.2 (7th Cir. 2013). “[A]n officer performing a Terry stop

may not automatically frisk the individual subject to the stop; rather, to do so, the

officer must have some articulable suspicion that the subject is ‘armed and

dangerous.’” Id. at 686. Importantly, the mere fact that an officer is responding to a

call involving weapons is not enough by itself to justify a reasonable belief that a

particular individual is armed and dangerous. Cf. id. at 687 (“while officers were

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responding to a weapons call, that fact could not give rise to a reasonable belief that

Mr. Williams, personally, was armed and dangerous”).

      Here, all that the officers responding to the call knew at the times was that an

anonymous 911 caller whose identity could not be verified reported that a black male

wearing a puffy jacket had fired a gun, a fact which was not corroborated by

ShotSpotter. Under the circumstances, the officers had no reasonable suspicion not

only that criminal activity was afoot but that Defendant was both involved with it

and himself armed and dangerous. As the Seventh Circuit summarized in Williams,

             The government is required to show that Officer Jesberger's frisk
      was supported by articulable facts that could establish specifically that Mr.
      Williams was armed and dangerous. The facts, here, are much more
      general, and could be applied to practically any person that had been
      around the area when the officers showed up that night. Indeed, similar
      facts could support a search of practically anyone who happens to be near
      a high-crime area at night when police are called. That is the very evil that
      the Terry court was concerned with unleashing, and the reason that the
      Terry court restrained the ability to frisk. Accordingly, we are obliged to
      conclude that Officer Jesberger's frisk of Mr. Williams was
      unconstitutional.

Id. at 688 (cleaned up).

The situation is the same here, and it requires the same result. The evidence obtained

from the unconstitutional stop and search should be suppressed.

                                       Respectfully Submitted,


                                       /s/ James G. Vanzant
                                       Attorney for Defendant

 James G. Vanzant, Esq.
 BLAINE & VANZANT, LLP

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922 Davis Street
Evanston, Illinois 60201
Tel.: (312) 788-7584
E-mail: jgv@blainevanzant.com




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